       Case 2:13-cr-00267-TLN Document 61 Filed 05/15/15 Page 1 of 2


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5
     Attorney for Defendant
6    FERLANDO CARTER
7
                              IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                  )   Case No. 2:13-CR-00267 TLN
                                                )
11   Plaintiff,                                 )   STIPULATION AND ORDER TO
                                                )   CONTINUE STATUS CONFERENCE, AND TO
12   vs.                                        )   EXCLUDE TIME
                                                )
13   FERLANDO CARTER, et al.                    )   Date: June 18, 2015
                                                )   Time: 9:30 a.m.
14   Defendants.                                )   Judge: Hon. Troy L. Nunley
                                                )
15                                              )
16          IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
17   through Assistant United States Attorney Justin Lee, attorney for Plaintiff, Heather Williams,
18   Federal Defender, through Assistant Federal Defender Douglas Beevers, attorney for Ferlando
19   Carter, and Jason Lawley, attorney for Luis Bustamante, that the status conference scheduled for
20   June 18, 2015 be vacated and be continued to July 2, 2015 at 9:30 a.m.
21          The grounds for this continuance are that Defense counsel for Mr. Carter would like time
22   to investigate options for restoration of mental competency. Furthermore, Defense counsel for
23   Mr. Bustamante would like more time to discuss options for potential resolution, continue review
24   of discovery and defense investigation, and otherwise prepare for trial.
25          Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
26   excluded of this order’s date through and including July 2, 2015; pursuant to 18 U.S.C. §3161
27   (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based
28   upon continuity of counsel and defense preparation.

                                                     -1-             Stipulation and Order to Continue Status Conference
       Case 2:13-cr-00267-TLN Document 61 Filed 05/15/15 Page 2 of 2


1    DATED: May 14, 2015                           Respectfully submitted,
2                                                  HEATHER E. WILLIAMS
3                                                  Federal Defender

4                                                  /s/ Douglas Beevers
                                                   DOUGLAS J. BEEVERS
5                                                  Assistant Federal Defender
                                                   Attorney for Ferlando Carter
6
7
     DATED: May 14, 2015                           Respectfully submitted,
8
                                                   /s/ Douglas Beevers for
9                                                  JASON LAWLEY
                                                   Attorney for Luis Bustamante
10
11
     DATED: May 14, 2015                           BENJAMIN B. WAGNER
12                                                 United States Attorney
13                                                 /s/ Douglas Beevers for
14                                                 JUSTIN LEE
                                                   Assistant U.S. Attorney
15                                                 Attorney for Plaintiff

16
17
                                                  ORDER
18
            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
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     stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
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     its order. The Court specifically finds the failure to grant a continuance in this case would deny
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     counsel reasonable time necessary for effective preparation, taking into account the exercise of
22
     due diligence. The Court finds the ends of justice are served by granting the requested
23
     continuance and outweigh the best interests of the public and defendant in a speedy trial.
24
     Dated: May 15, 2015
25
26
27                                                          Troy L. Nunley
                                                            United States District Judge
28

                                                      -2-             Stipulation and Order to Continue Status Conference
